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                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

In re:                                                                §                Chapter 11
                                                                      §
ZENERGY BRANDS, INC., et al.,1                                        §                Case No. 19-42886
                                                                      §
          Debtor.                                                     §                (Jointly Administered)


       OFFICIAL COMMITTEE OF UNSECURED CREDITORS' MOTION FOR
     ORDER AUTHORIZING EXAMINATION OF DEBTORS AND INSIDERS AND
         AFFILIATES THEREOF PURSUANT TO BANKRUPTCY RULE 2004



                                  14-DAY NEGATIVE NOTICE – LBR 2004(a):

Your rights may be affected by the relief sought in this pleading. You should read this
pleading carefully and discuss it with your attorney, if you have one in this bankruptcy case.
If you oppose the relief sought by this pleading, you must file a written objection, explaining
the factual and/or legal basis for opposing the relief.

No hearing will be conducted on this Motion unless a written objection is filed with the Clerk
of the United States Bankruptcy Court and served upon the party filing this pleading
WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE shown in the
certificate of service unless the Court shortens or extends the time for filing such objection.
If no objection is timely served and filed, this pleading shall be deemed to be unopposed, and
the Court may enter an order granting the relief sought. If an objection is filed and served in
a timely manner, the Court will thereafter set a hearing with appropriate notice. If you fail to
appear at the hearing, your objection may be stricken. The Court reserves the right to set a
hearing on any matter.


          The Official Committee of Unsecured Creditors (the "Committee") for Zenergy Brands, Inc.

and related Debtor entities (collectively, the "Debtors") files this Motion for Order Authorizing

Examination of Debtors and Insiders and Affiliates Thereof Pursuant to Bankruptcy Rule 2004 (the "Motion").

In support of the Motion, the Committee respectfully states as follows:



1The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC (8045); Zenergy Power & Gas, Inc. (1963); Enertrade Electric,
LLC (8649); Zenergy & Associates, Inc. (4022); and Zen Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700
Granite Pkwy, #200, Plano, TX 75024.


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                                      JURISDICTION & VENUE

        1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in this Court pursuant

to 28 U.S.C. §§ 1408 and 1409.

        2.       The statutory predicates for the relief requested herein are section 105(a) of title 11 of

the United States Code, 11 U.S.C. §§ 101, et seq. (the "Bankruptcy Code"), and Rule 2004 of the

Federal and Local Rules of Bankruptcy Procedure (the "Bankruptcy Rules").

                                             BACKGROUND

        3.       On October 24, 2019 ("Petition Date"), the Debtors commenced their Chapter 11

cases, which are jointly administered under lead case of Zenergy Brands, Inc., Case No. 19-42886.

        4.       On October 31, 2019, the Court entered an Interim Order Pursuant to 11 U.S.C. §§ 105,

361, 362, 363, 364 and 507 (I) Approving Postpetition Financing, (II) Authorizing Use of Cash Collateral, (III)

Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting Adequate Protection,

(V) Modifying Automatic Stay, and (VI) Granting Related Relief, and (VII) Scheduling Final Hearing [Dkt. #61]

(the "Interim DIP Financing Order").

        5.       Paragraph 33 of the Interim DIP Financing Order, as modified on the record on

November 18, 2019, provides the Committee until February 10, 2020, to file claims and causes of

action (the "Challenge Period") against TCA Global Credit Master Fund, L.P. (the "Prepetition

Lender"). Otherwise, the potential exists that certain releases currently found in the Interim DIP

Financing Order and related proposed Debtor-in-Possession financing documents, will be deemed

enforceable against "all parties-in-interest…and [the Committee]…." See INTERIM DIP FINANCING

ORDER, ¶ 33(a).

        6.       On November 4, 2019, the United States Trustee for the Eastern District of Texas

filed its Appointment of Official Unsecured Creditors' Committee [Dkt. #69] in the Debtors' bankruptcy cases.


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On November 18, 2019, the Court held a final hearing on the Debtors' Emergency Motion For Entry Of

Interim And Final Orders (I) Authorizing The Debtors To Obtain Post-Petition Financing, Granting Senior

Postpetition Security Interests And According Superpriority Administrative Expense Status Pursuant To Sections

364(c) And 364(d) Of The Bankruptcy Code; (II) Authorizing The Use Of Cash Collateral; (III) Granting

Adequate Protection; (IV) Modifying The Automatic Stay; And (V) Granting Related Relief [Dkt. #19] (the

"DIP Motion"), wherein it was agreed among the parties and read into the Court record that

Challenge Period would expire on February 10, 2020. As a result, the Challenge Period expires on

February 10, 2020.

        7.       On November 12, 2019, the undersigned law firm ("KRCL") filed its Application to

Employ Kane Russell Coleman Logan PC as Counsel for the Official Unsecured Creditors' Committee [Dkt. #80].

Shortly after the Committee's formation, KRCL issued informal document requests to the Debtors,

negotiated and executed a nondisclosure agreement, and began conducting investigatory interviews

with creditors and certain of Debtors' representatives about potential claims and causes of action.

        8.       Also on November 12, 2019, the Committee forwarded a letter requesting information

to the Debtors' counsel, Marcus Helt (the "Preliminary Document Request"), a true and correct

copy of which is included in Exhibit "A" attached hereto. To date, the Debtors have produced

certain prepetition loan documents, perfection documents, a resignation letter from Byron Young and

from Alex Rodriguez, certain insurance information, an investment banking services letter agreement,

and related information.

        9.       On November 19, 2019, the Debtors filed their Bankruptcy Schedules A-H [Dkt. #93]

and Statement of Financial Affairs [Dkt. #94] (the "Schedules and Statements"). KRCL has reviewed

the Schedules and Statements and the other documents provided by the Debtors pursuant to the

Preliminary Document Request. KRCL has also discussed potential claims and causes of actions

against third parties with the Debtors' representatives and counsel to Prepetition Lender and TCA


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Special Situations Credit Strategies ICAV (the "DIP Lender").

        10.      In short, the Committee has been very diligent in its short existence to exhaust internal

investigative opportunities and appreciates the Debtors' cooperation to date.            Based upon its

investigation to date, however, the Committee has made the informed decision that they must pursue

its investigation through the present Motion.

        11.      Specifically, the Committee has determined that in order to fulfill its duties to its

constituents under section 1103 of the Bankruptcy Code, it requires additional information about the

Debtors' business operations, capital structure, and financial condition, beyond what is included in the

Schedules and Statements. In addition, the Committee needs additional information about the

Debtors' prepetition actions, officers, directors, and lenders and their respective actions and

potentially, omissions. To further its investigation, the Committee seeks, among other things,

information pertaining to the Debtors' relationship and prepetition agreements with the Prepetition

Lender and DIP Lender.

                        RELIEF REQUESTED AND BASIS THEREFOR

        12.      Bankruptcy Rule 2004 provides that, upon the motion of a party in interest, the Court

may order the examination of any entity and compel the production of documents. FED. R. BANKR.

P. 2004(a), (c). The examination may relate to, among other things, any matter that "may affect the

administration of the debtor's estate, … the operation of any business and the desirability of its

continuance, the source of any money or property acquired or to be acquired by the debtor for

purposes of consummating a plan and the consideration given or offered therefor, and any other

matter relevant to the case or to the formulation of a plan." FED. R. BANKR. P. 2004(b). The scope

of an examination under Bankruptcy Rule 2004 is “extremely broad,” and has been likened to a

“lawful” fishing expedition. In re M4 Enters, Inc., 190 B.R. 471, 474 (Bankr. N.D. Ga. 1995); In re

Lufkin, 255, B.R. 204, 208 (Bankr. E.D. Tenn. 2000) (quoting Bank One Columbus, N.A. v. Hammond


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(In re Hammond), 140 B.R. 197, 201 (S.D. Ohio 1992); In re Bakalis, 199 B.R. 443, 447 (Bankr. E.D.N.Y.

1996). The standard for granting a Bankruptcy Rule 2004 examination is whether the movant has

established “good cause.” In re Hammond, 140 B.R. 197, 201 (S.D. Ohio 1992).

        13.      Section 1103 of the Bankruptcy Code sets forth the duties of a creditors' committee

including to "investigate the acts, conduct, assets, liabilities, and financial condition of the debtor …

." 11 U.S.C. § 1103(c); Matter of Advisory Comm. of Major Funding Corp., 109 F.3d 219, 224 (5th Cir.

1997). By this Motion, the Committee seeks to continue fulfilling its statutory duty of investigating

the Debtor's affairs in order to, among other things, assess the viability of the Debtors' reorganization

efforts and determine whether the Debtors hold potential causes of action for recovery against third

parties. In addition to the actions currently being taken by the Committee, the Committee should be

permitted to conduct an examination of the Debtors under Bankruptcy Rule 2004 and to seek

documents from the Debtors and their insiders, affiliates, and representatives.

        14.      The Committee, through counsel, seeks to take the oral examination of Joshua

Campbell, the representative(s) of Zenergy Brands, Inc. and related Debtors, on January 10, 2020, at

the offices of Kane Russell Coleman Logan PC, 901 Main Street, Suite 5200, Dallas, Texas 75202; Tel:

(214) 777-4200; Fax: (214) 777-4299, or such other date and location as may be mutually agreed upon

by the parties. The examination will relate to, among other things, the Debtors' relationships and

arrangements with lenders, the Debtors' business operations, and the financial condition of the

Debtors.      The examination will be recorded by audio tape, digital audio recording, and/or

stenographic recording. The Committee further seeks production from the Debtors of all documents

and information set forth on Exhibit "A" attached hereto.

        15.      If this Motion is approved, the Committee demands: (a) that the Debtors produce for

inspection and copying the documents set forth in Exhibit "A" commencing not later than

December 7, 2019, and continuing through noon CST on December 18, 2019, either electronically or


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at the offices of Kane Russell Coleman Logan PC, 901 Main Street, Suite 5200, Dallas, Texas 75202;

Tel: (214) 777-4200; Fax: (214) 777-4299, unless otherwise agreed to by the Committee and Debtors;

and (b) that Joshua Campbell or such other representative of the Debtors appear for examination by

the Committee, through counsel, at the offices of the Committee's undersigned proposed counsel at

a time that is mutually agreeable between the Debtors and the Committee or, if no agreement is

reached, January 10, 2020.

        WHEREFORE, the Committee respectfully requests that the Court enter an order (a)

requiring the Debtors to produce all documents set forth on Exhibit "A" attached hereto, (b)

authorizing the Committee to take the oral examination of the Debtors, and (c) granting the

Committee such other and further relief to which it may be justly entitled.


Dated: November 26, 2019                                   Respectfully submitted,

                                                           KANE RUSSELL COLEMAN LOGAN PC

                                                           By:        /s/ Joseph M. Coleman
                                                                      Joseph M. Coleman
                                                                      State Bar No. 04566100
                                                                      John J. Kane
                                                                      State Bar No. 24066794
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                                                           Proposed Counsel for the Official
                                                           Committee of Unsecured Creditors




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                                CERTIFICATE OF CONFERENCE

         I hereby certify that I have spoken with counsel for the Debtors regarding this Motion, but a
final agreement has not yet been reached as to the relief requested.

                                                                      /s/ Joseph M. Coleman
                                                                      Joseph M. Coleman


                                    CERTIFICATE OF SERVICE
        I hereby certify that (a) a true and correct copy of the foregoing document was served via the
Court's electronic filing system (ECF) upon all parties receiving such service in this bankruptcy case
on the date and time filed; and (b) a true and correct copy of foregoing document was served via first-
class U.S. mail on the attached Limited Master Service List on November 26, 2019.

                                                                      /s/ Joseph M. Coleman
                                                                      Joseph M. Coleman




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